EXHIBIT B
                                     XXX-XX-XXXX-3




09/04/2019   Case 1:19-cv-00827-LY          JBLLC 001
                                    Important Notices and Borrower Certification
Criminal Penalties 18 U.S.C. §1014                                             If you sign the Application and Loan Agreement in Ohio:
Whoever knowingly makes any false statement or report, or willfully            The Ohio laws against discrimination require that all creditors make
overvalues any land, property or security, for the purpose of influencing in   credit equally available to all creditworthy customers, and that credit
any way the action of … any institution the accounts of which are insured      reporting agencies maintain separate credit histories on each
by the Federal Deposit Insurance Corporation …, upon any application,          individual upon request. The Ohio civil rights commission administers
advance, discount, purchase, purchase agreement, repurchase                    compliance with this law.
agreement, commitment, or loan, or any change or extension of any of           If you sign the Application and Loan Agreement in Pennsylvania:
the same, by renewal, deferment of action or otherwise, or the                 You intend to be legally bound by this Application and Loan Agreement
acceptance, release, or substitution of security therefor, shall be fined      and the Statement of Loan Terms and Conditions.
not more than $1 million or imprisoned not more than 30 years, or both.
                                                                               If you sign the Application and Loan Agreement in Utah:
Borrower Authorization                                                         As required by Utah law, you are hereby notified that a negative credit
I authorize the Lender and Access Group, Inc. to investigate my                report reflecting on your credit record may be submitted to a credit
creditworthiness and to obtain information from others concerning my           reporting agency if you fail to fulfill the terms of your credit obligations.
credit standing and other relevant information affecting this application.
I authorize the Lender or other subsequent holder of my loan and               If you sign the Application and Loan Agreement in Vermont:
Access Group, Inc. to provide to others information about my loan and          You authorize National City to obtain credit reports about you now and
the Lenderʼs (or subsequent holderʼs or Access Group, Inc.ʼs)                  in the future for all legitimate purposes associated with this application
experiences with me. I acknowledge and agree that the school                   or the account including, but not limited to: (a) evaluating the
referenced on the Application and Loan Agreement may receive a copy            application; and (b) renewing, reviewing, modifying, and taking
of this Application and Loan Agreement. Except as otherwise prohibited         collection action on your account.
by law, I agree and consent that the Lender may share with its                 Your consent is required before we can share certain credit information
respective affiliates all information about me for the purposes, among         about you with our affiliates. We are permitted to share information which
other things, of evaluating credit applications or offering products and       is not a credit report under Vermont law without your consent, such as
services that it believes may be of interest to me. Under the Fair Credit      information related solely to our transactions and experiences with you.
Reporting Act there is certain credit information about me that cannot be
shared by the Lender with its affiliates if I send a written instruction       If you sign the Application and Loan Agreement in Wisconsin:
containing my name, address, account number, and Social Security               For married Wisconsin residents, your signature confirms that this
number addressed as follows: National City Bank, P. O. Box 94985,              loan obligation is being incurred in the interest of your marriage or
Cleveland, Ohio 44101-4985.                                                    family. No provision of a marital property agreement, a unilateral
If you sign the Application and Loan Agreement in California:                  statement under Section 766.59 of the Wisconsin Statutes or a court
A married applicant may apply for a separate account. As required by           decree under Section 766.70 of the Wisconsin Statutes adversely
law, you are hereby notified that a negative credit report reflecting on       affects the interests of the creditor unless the creditor, prior to the time
your credit record may be submitted to a credit reporting agency if you        the credit is granted, is furnished a copy of the agreement, statement
fail to fulfill the terms of your credit obligations.                          or decree or has actual knowledge of the adverse provision when the
                                                                               obligation to the creditor is incurred.
If we take any adverse action as defined by Section 1785.3 of the
California Civil Code and the adverse action is based, in whole or in part,    Borrower Certification
on any information contained in a consumer credit report, you have the         I declare under penalty of perjury under the laws of the United States of
right to obtain within 60 days a free copy of your consumer credit report      America that the following is true and correct. I, the borrower, certify that
from the consumer reporting agency who furnished us your consumer              the information contained in my Application and Loan Agreement for a
credit report and from any other consumer credit reporting agency which        loan under the Access Group® loan programs is true, complete, and
compiles and maintains files on consumers on a nationwide basis. You           correct to the best of my knowledge and belief and is made in good faith.
have the right as described by Section 1785.16 of the California Civil         At my lenderʼs option, I authorize the lender to make my loan check
Code to dispute the accuracy or completeness of any information in a           payable to the student on whose behalf the loan is to be extended (which
consumer credit report furnished by the consumer credit reporting agency.      in the case of a non-student borrower is the person identified in fields 18
If you sign the Application and Loan Agreement in Iowa (This is                and 19 of my Application and Loan Agreement, and in the case of a
a consumer credit transaction), Nebraska, or Kansas:                           student borrower is me) and mail it to such studentʼs school, to mail a
                                                                               master check to such studentʼs school, or to electronically transfer loan
Notice to Consumer:                                                            funds to such studentʼs account at such studentʼs school, and, in the case
1. Do not sign this paper (agreement) before you read it. 2. You are           of an Electronic Funds Transfer or master check, if I am a borrower who
entitled to a copy of this paper (agreement). 3. You may prepay the            is not the student, I further authorize the lender and the school to distribute
unpaid balance at any time without penalty and may be entitled to              to the student any loan funds in excess of the amount owed or payable
receive a refund of unearned charges in accordance with law.                   by such student to the school during the applicable academic period. IF
                                                                               I AM A BORROWER WHO IS NOT ALSO THE STUDENT, I
If you sign the Application and Loan Agreement in Iowa                         UNDERSTAND AND AGREE THAT NO AMOUNTS WILL BE PAYABLE
and the principal amount of this Loan exceeds $20,000:                         TO ME EITHER BY CHECK OR ELECTRONIC TRANSFER. I authorize
IMPORTANT: READ BEFORE SIGNING. THE TERMS OF                                   any educational institution that such student may attend, the guarantor, or
THIS AGREEMENT SHOULD BE READ CAREFULLY                                        Access Group, Inc. to release to the lending institution, subsequent
BECAUSE ONLY THOSE TERMS IN WRITING ARE                                        holder, or their agents, any requested information pertinent to my loan
ENFORCEABLE.         NO OTHER TERMS OR ORAL                                    (e.g., employment, enrollment status, prior loan history, current address).
                                                                               I authorize my lender, subsequent holder, Access Group, Inc., or their
PROMISES NOT CONTAINED IN THIS WRITTEN                                         agents to advise such studentʼs educational institution of the status of my
CONTRACT MAY BE LEGALLY ENFORCED. YOU MAY                                      Application and Loan Agreement or of my loan. I also authorize the lender,
CHANGE THE TERMS OF THIS AGREEMENT ONLY BY                                     subsequent holder, educational institution, the guarantor, Access Group,
ANOTHER WRITTEN AGREEMENT.                                                     Inc., or their agents to make inquiries to or respond to inquiries from
If you sign the Application and Loan Agreement in Rhode Island:                subsequent lenders or holders with respect to my Application and Loan
                                                                               Agreement and related documents. I also authorize the lender, subsequent
A consumer report may be requested in connection with this application.        holder, guarantor, or their agents to release information and make inquiries
If you sign the Application and Loan Agreement in Maryland:                    to the persons I have listed in my Application and Loan Agreement as
We elect Subtitle 10, Credit Grantor Closed End Credit Provisions, of          references, for the purpose of learning my current address and telephone
Title 12 of the Commercial Law Article of the Annotated Code of                number. I also authorize the lender, subsequent holder, the guarantor,
Maryland only to the extent not inconsistent with 12 U.S.C. §85 and            Access Group, Inc., or their agents to check my credit and employment
related regulations and opinions, which we expressly reserve.                  history and to answer questions about their credit experience with me.
                                                                               I certify that the proceeds of my loan will be used for educational purposes
If you sign the Application and Loan Agreement in New York:                    for the academic period stated in my Application and Loan Agreement at
A consumer report may be requested in connection with this                     the educational institution named on my Application and Loan Agreement.
application. Upon your request, you will be informed whether or not            I understand that I am responsible for repaying immediately any funds
a consumer report was requested, and if such report was requested,             that I or the student receive which are not to be used or are not used for
informed of the name and address of the consumer reporting                     educational expenses related to attendance at the institution stated for the
agency that furnished the report. Subsequent consumer reports                  loan period stated. I certify that I have not filed for bankruptcy in the past
may be requested or utilized in connection with an update, renewal             seven years. I certify that I am not now in default on any loan received
or extension of the credit for which application was made.                     under the Federal Direct Loan Program or the Federal Family Education
                                                                               Loan Program, or other education loan.
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Student Borrowers – Statement of Loan Terms and Conditions for
Access Group® Private Loan Programs
This Statement of Loan Terms and Conditions applies to, and is a part of, my              you a certification from the director of such program as to my participation),
Application and Loan Agreement. My signature on the Application and Loan                  (c) if my Access Group Program is the Bar Examination Loan program, the date
Agreement certifies that I have read, understand, and agree to these Loan Terms           which is nine months after the date my law school indicated on my Application
and Conditions. In this Statement of Loan Terms and Conditions the words “I,”             and Loan Agreement to be my anticipated or actual graduation date, (d) if my
“me,” “my,” and “mine” mean the borrower identified on the Application and Loan           Access Group Program is the Dental Access® or Dental Residency/Dental Board
Agreement. If a cosigner is identified on the Application and Loan Agreement, the         Examination Loan program, the date which is nine months after the date I
words “I,” “me,” “my,” and “mine” mean the borrower and the cosigner, jointly             graduate or otherwise cease to be enrolled at least half-time at the dental school
and severally, except that references to my school, graduation or enrollment,             named on my Application and Loan Agreement or at any other dental school
program of study, citizenship, or participation in residency or postdoctoral              participating in the Dental Access® program, unless on such date I am
programs, and references to loan funds being lent, advanced, mailed, or                   participating in a required residency or postdoctoral program, in which event the
otherwise disbursed to me, for me, or on my behalf, refer only to the student             “Interim Period” will end on the date which is nine months after the date I
borrower. “You,” “your,” and “yours” mean National City Bank, 1900 East Ninth             complete or otherwise cease to participate in such residency or postdoctoral
Street, Cleveland, Ohio 44114-3484, or its successors and assigns, and any                program, but in no event later than 45 months after the date I graduate from
subsequent holder of my loan.                                                             dental school (I will be considered to be participating in a required residency or
                                                                                          postdoctoral program only if I have sent you a certification from the director of
A. PROMISE TO PAY
                                                                                          such program as to my participation), or (e) if my Access Group Program is the
Intending to be legally bound, I promise to pay to your order under the provisions
                                                                                          Comprehensive Access® program or the Optimum® Loan program, the earlier of (i)
set forth in this Statement of Loan Terms and Conditions all of the principal sum
                                                                                          the date which is nine months after I graduate, or otherwise cease to be enrolled,
advanced to me or paid on my behalf, and as set out below, interest on such
                                                                                          at the school named on my Application and Loan Agreement or any other school
principal sum, interest on any unpaid accrued interest added to the principal
                                                                                          participating in the Access Group® loan programs or (ii) the date which is ten
balance, a loan fee, if any, as set out below (which shall be added to the principal
                                                                                          years after the disbursement date for my first Comprehensive Access® Loan or
balance as described below), late charges, and, in the event of default, and to the
                                                                                          Optimum® Loan.
extent permitted by applicable law, costs of collection and reasonable attorneys’ fees.
                                                                                          4. “Repayment Period” means the period beginning on the day after the Interim
B. IMPORTANT - READ THIS INFORMATION CAREFULLY                                            Period ends and continuing for no more than 240 months. I recognize that the
1. When you receive my signed Application and Loan Agreement, you are not                 beginning date of the Repayment Period may be earlier than the date on which I
agreeing to lend me money. If you decide to make a loan to me, you will, in your          am asked to make my first payment according to the periodic statements
sole discretion, mail a loan check to me, or mail a loan check or master check or         described in Paragraph E.2.
electronically transfer the loan funds to my school for me. You have the right to not
make a loan or to lend an amount less than the “Loan Amount Requested” in my              D. INTEREST
Application and Loan Agreement. The amount of the loan will not exceed the Loan           1. Accrual - Interest on my loan will accrue at the Variable Rate. Interest begins
Amount Requested. I agree to accept an amount less than the Loan Amount                   to accrue on the Disbursement Date and will continue to accrue on the unpaid
Requested and to repay that portion of the Loan Amount Requested that you                 balance until paid in full. Interest will accrue on the unpaid principal sum to the
actually lend to me.                                                                      extent it is advanced to me or paid on my behalf, and on unpaid accrued interest
                                                                                          and the loan fee added to the principal balance in accordance with Paragraphs
2. After you agree to make a loan to me, you will send me (and my cosigner, if
                                                                                          D.3 and G. Interest will be calculated on the basis of the actual number of
applicable) a Disclosure Statement. In addition to other information, the
                                                                                          days in the year and the actual number of days elapsed. If I do not pay interest to
Disclosure Statement will tell me the amounts of my disbursements, the loan fee
                                                                                          you during the Interim Period, you may at your option add such interest to the
percentage assessed, and the index and margin used in calculating the interest
                                                                                          principal balance of the loan in accordance with Paragraph D.3.
rate for my loan.
                                                                                          2. Variable Rate - The Variable Rate is equal to the Current Index, plus a margin
3. I will review my Disclosure Statement upon receiving it and will contact you
                                                                                          ranging from 1.45% per annum to 4.30% per annum, depending on my credit
within three business days if I have any questions. If I am not satisfied (or if my
                                                                                          history, my Access Group Program, and the availability of special loan programs at
cosigner, if applicable, is not satisfied) with the terms of my loan as approved, I (or
                                                                                          the school I attend, as identified in my Application and Loan Agreement, and my
my cosigner, if applicable) may cancel my loan and any disbursements. To cancel,
                                                                                          payment performance with respect to my loan. The margin applicable to my loan, as
I (or my cosigner, if applicable) must contact you in writing within three business
                                                                                          well as the basis upon which and the amount by which the margin applicable to my
days of receiving the Disclosure Statement and must notify my school. If I or my
                                                                                          loan may be increased or decreased as a result of my payment performance, will be
cosigner cancel the loan, I agree to not endorse any loan check, and to return to my
                                                                                          identified in my Disclosure Statement. In no event shall the Variable Rate be more
school any and all funds received by me, and I agree that such non-endorsement
                                                                                          than 25% per annum. The Variable Rate will change quarterly on the first day of each
and return of funds will be a condition to the effective cancellation of the loan.
                                                                                          January, April, July, and October (the “Change Date(s)”) if the Current Index
C. DEFINITIONS                                                                            changes. The “Current Index” for any calendar quarter beginning on a Change Date
1. “Access Group Program” means the particular loan program (i.e., Law Access®, Bar       (or for any shorter period beginning on the Disbursement Date and ending on the first
Examination Loan, Business Access®, Graduate Access®, Health Access®, Medical             Change Date) is the three-month London Interbank Offered Rate (LIBOR) on the last
Access®, Medical Residency Loan, Dental Access®, Dental Residency/Dental                  business day of the second month of the prior calendar quarter, as reported in The
Board Examination Loan, Comprehensive Access® or Optimum® Loan) for which                 Wall Street Journal. If the Current Index is no longer available, you will choose,
you have determined that I am eligible, based upon my program of study,                   in your sole discretion, a comparable substitute.
enrollment status, and citizenship, as shown on my Application and Loan Agreement.        3. Capitalization - You may, at your option, add all accrued and unpaid interest on
2. “Disbursement Date” means the date on which you lend money to me in                    my loan to the principal balance of the loan on the last day of the Interim Period.
consideration for my Application and Loan Agreement, which date will be the date          If my loan is the Comprehensive Access® Loan or Optimum® Loan, you may, at your
shown on my loan check, the date the loan funds are electronically transferred to my      option, add all accrued and unpaid interest on my loan to the principal balance of
school or the date on which any master check is mailed to my school.                      the loan five years after the date of the first disbursement of my Comprehensive
3. “Interim Period” means the period beginning on the initial Disbursement Date           Access® Loan or Optimum® Loan (if my loan has not yet entered repayment at that
and ending on (a) if my Access Group Program is the Law Access®, Graduate                 time), and again when my loan enters repayment.
Access®, Health Access®, or Business Access® program, the date which is nine              E. TERMS OF REPAYMENT
months after I graduate or otherwise cease to be enrolled at least half-time at the       1. Interim Period - During the Interim Period you will send me quarterly statements
school named on my Application and Loan Agreement or any other school                     showing my loan disbursements and the interest that accrues on my loan.
participating in my Access Group Program, (b) if my Access Group Program is the           Statements will be sent to the address shown on your records, as provided in
Medical Access® or Medical Residency Loan program, the date which is nine                 Paragraph L. The quarterly statements will cover periods beginning on the initial
months after the date I graduate or otherwise cease to be enrolled at least               Disbursement Date and thereafter on the first day of each January, April, July, and
half-time at the medical school named on my Application and Loan Agreement or             October. I may, but am not required to, make payments of interest or principal
any other medical school participating in the Medical Access® program, unless on          during the Interim Period. You may add any interest that I do not pay during the
such date I am participating in a required residency program, in which event the          Interim Period to the principal balance, as described in Paragraph D.3.
“Interim Period” will end on the date which is nine months after the date
                                                                                          2. Repayment Period - During the Repayment Period you will send me periodic
I complete or otherwise cease to participate in such residency program, but in no
                                                                                          statements on my loan. The periodic statements will cover periods beginning on
event later than 57 months after the date I graduate from medical school (I will be
                                                                                          the first day of the Repayment Period and on the same day of each following
considered to be participating in a required residency program only if I have sent
                                                                                          month. I will make consecutive monthly payments in the amounts and on the
                                                                                                                                                      Continued on page 5.
P.03.A                                                                                                                                                                       4
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Student Borrowers – Statement of Loan Terms and Conditions for
Access Group® Private Loan Programs
Continued from page 4.

payment due dates shown on my periodic statements until I have paid all of the             employees and court and other collection costs, which you, or any agent of yours,
principal and interest and any other charges I may owe on my loan, as described            incur in enforcing the terms of my Application and Loan Agreement (including this
in this Statement of Loan Terms and Conditions.                                            Statement of Loan Terms and Conditions).
3. Repayment Terms - The amounts shown on my periodic statements will be                   L. NOTICES
consecutive monthly installments of principal and interest calculated each                 1. I will send written notice to you within ten days after any change in my name,
Change Date to equal the amount necessary to amortize the unpaid principal                 address, e-mail address, telephone number, school enrollment status, or residency
balance (including capitalized interest and loan fee, if any) of my loan (as of the        or postdoctoral program participation.
date of calculation) in equal monthly installments of principal and interest at the
                                                                                           2. Any notice required to be given to me by you will be effective (and deemed
Variable Rate then in effect over the number of months remaining in the
                                                                                           received) when mailed by first class mail to the latest address you have for me.
Repayment Period.
4. Amounts Owing at the End of the Repayment Period - Since interest accrues               M. ADDITIONAL AGREEMENTS
daily upon the unpaid principal balance of my loan, if I make payments after my            1. The proceeds of my loan will be used (a) if my Access Group Program is the Law
payment due dates, I may owe additional interest. If I have not paid my late               Access®, Business Access®, Graduate Access®, Health Access®, Medical Access®,
charges, I will also owe additional amounts for those late charges. In such case           Dental Access®, Comprehensive Access® Loan program or Optimum® Loan
you will increase the amount of my last monthly payment to the amount necessary            program, only for my educational expenses at the school identified in my
to repay my loan in full.                                                                  Application and Loan Agreement, (b) if my Access Group Program is the Bar
5. Minimum Repayment - Notwithstanding Paragraph E.3, I agree to pay at least              Examination Loan program, only for my educational expenses in conjunction with
$50 each month (principal and interest) during the Repayment Period or the                 the Bar Examination, (c) if my Access Group Program is the Medical Residency
unpaid balance, whichever is less. I understand that this may result in my loan            Loan program, only for my educational expenses in conjunction with a required
being paid off in less than 240 months.                                                    residency program, or (d) if my Access Group Program is the Dental
6. My obligation to repay my loan shall remain in force if I become totally and            Residency/Dental Board Examination Loan program, only for my educational
permanently disabled or die.                                                               expenses associated with the costs of a required dental residency, dental board
                                                                                           examination, or postdoctoral program.
F. LATE CHARGES                                                                            2. My responsibility for paying my loan is unaffected by the liability of any other
I will pay a late charge of $25.00 if I fail to make any part of an installment payment    person to me or by your failure to notify me that a required payment has not been
within 15 days after it becomes due. I will pay only one late charge for an                made. Without losing any of your rights under my Application and Loan
installment payment, regardless of the number of days it is late.                          Agreement (including this Statement of Loan Terms and Conditions), you may
G. FINANCE CHARGE                                                                          accept (a) late payments, or (b) partial payments. I will not send you any partial
I will pay a loan fee not to exceed 6% of an amount (the “Capitalized Amount”)             payments marked “paid in full,” “without recourse” or with similar language
equal to the original principal balance of my loan plus the interest that has              unless those payments are marked for “special handling” and sent to: Access
accrued thereon through the last day of the Interim Period or, if earlier, the day on      Group, P.O. Box 7400, Wilmington, DE 19803-0400. You may delay, or fail to
which I otherwise prepay my loan in full. The loan fee percentage to be applied            exercise, or waive any of your rights on any occasion without losing your
to my Capitalized Amount will be identified on my Disclosure Statement and will            entitlement to exercise the right at any future time or on any future occasion.
be 0%, 3%, or 6%. The loan fee will be payable on the last day of the Interim Period       You will not be obligated to make any demand upon me, send me any notice,
or, if earlier, the day on which I otherwise prepay my loan in full.                       present my Application and Loan Agreement to me for payment or make protest
I agree that you can add the amount of the loan fee to the outstanding balance of          of nonpayment to me before suing to collect on my loan if I am in default, and, to
my loan. I will not be entitled to any refund of the loan fee.                             the extent permitted by applicable law, I hereby waive any right I might otherwise
                                                                                           have to require such actions.
H. RIGHT TO PREPAY                                                                         3. You are located in Ohio. My Application and Loan Agreement will be entered
I have the right to prepay all or any part of my loan at any time without penalty.         into in Ohio. Your decision on whether to lend me money will be made in Ohio.
If I prepay my loan, either before or after the end of the Interim Period, I will still    CONSEQUENTLY, THE PROVISIONS OF MY LOAN WILL BE
pay the loan fee described in Paragraph G. above. If I otherwise prepay my loan            GOVERNED BY FEDERAL LAWS AND THE LAWS OF THE STATE
in its entirety prior to the last day of the Interim Period, and I have not already paid   OF OHIO, WITHOUT REGARD TO CONFLICT OF LAW RULES.
the loan fee, I agree to pay the loan fee when you bill me for it.                         I agree that any suit I bring against you (or against any subsequent holder of my
I. FORBEARANCE                                                                             loan) must be brought in a court of competent jurisdiction in the county in which
If I am unable to repay my loan in accordance with the terms established under             you maintain your (or the county in which such subsequent holder maintains its)
Paragraph E. of this Statement of Loan Terms and Conditions, I may request that            principal place of business.
you modify these terms. I understand that such modification would be at your               4. I may not assign my loan or any of its benefits or obligations. You may assign my
option. I understand that interest will continue to accrue during any period of            loan at any time without my consent.
forbearance and that I will remain responsible for payment of such interest.               5. The terms and conditions set forth in my Application and Loan Agreement
J. WHOLE LOAN DUE                                                                          (including the Borrower Certification), this Statement of Loan Terms and
To the extent permitted by applicable law, I will be in default and you have the right     Conditions, and the Disclosure Statement constitute the entire agreement
to give me notice that the whole outstanding principal balance, accrued interest,          between you and me.
and all other amounts payable to you as described in this Statement of Loan Terms          6. If any provision of my Application and Loan Agreement (including this
and Conditions, are due and payable at once (subject to any applicable law which           Statement of Loan Terms and Conditions) is held invalid or unenforceable, that
may give me a right to cure my default) if:                                                provision shall be considered omitted from my Application and Loan Agreement
1. I fail to make any monthly payment to you when due; or                                  without affecting the validity or enforceability of the remainder of my Application
2. I break any of my other promises in my Application and Loan Agreement                   and Loan Agreement.
(including this Statement of Loan Terms and Conditions); or                                7. The Section headings of this Statement of Loan Terms and Conditions are a table
3. I die; or                                                                               of contents and not contract terms. In this Statement of Loan Terms and
                                                                                           Conditions, acts or practices by you which are or may be permitted by “applicable
4. Any bankruptcy proceeding is begun by or against me, or I assign any of my
                                                                                           law” are permitted by New Jersey law. In this Statement of Loan Terms and
assets for the benefit of my creditors; or
                                                                                           Conditions, acts or practices that may or will be taken by you unless prohibited by
5. I make any false written statement in applying for my loan or at any time during        “applicable law” are permitted by New Jersey law.
the Interim or Repayment Periods. Your right to treat such false statements as a
                                                                                           8. A provision of my Application and Loan Agreement (including this Statement of
default is in addition to, and not in lieu of, any other remedies you have at law or
                                                                                           Loan Terms and Conditions) may be modified only if jointly agreed upon in writing
in equity.
                                                                                           by you and me. Any modification will not affect the validity or enforceability of the
If I default, I will be required to pay interest on my loan accruing after default. The    remainder of my Application and Loan Agreement.
interest rate after default will be subject to adjustment in the same manner as
                                                                                           9. I acknowledge my loan is an education loan and that the Access Group® loan
before default.
                                                                                           programs are funded in part by a nonprofit institution, and that my loan is
K. COLLECTION COSTS                                                                        therefore subject to the limitations on dischargeability in bankruptcy contained in
I agree to pay you reasonable amounts permitted by applicable law, including               Section 523 (a) (8) of the United States Bankruptcy Code.
reasonable attorneys’ fees for any attorneys who are not your regular salaried

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                          FEDERAL TRUTH IN LENDING DISCLOSURE STATEMENT
  PLEASE DIRECT ALL QUESTIONS OR                                   Creditor: National City Bank
  CORRESPONDENCE TO:                                               Loan Program Type: BAL

            National City Bank



                                                                                        Disbursement Date: 09/17/2003
            1-800-282-1550


                                                                                        UNIVERSITY OF TEXAS AT AUSTIN
            AMER GILANI
            12820 N. LAMAR BLVD
            #1927
            AUSTIN, TX 78753




 ANNUAL PERCENTAGE RATE                                                                     AMOUNT FINANCED
             The cost of the credit as a yearly rate
                                                                                 The amount of credit provided to you on your behalf
          6.520%                              5.030%
                                                                                                     $13,400.00
 (e) Before repayment begins        (e) After repayment begins



Variable rate: The Annual Percentage Rate may change quarterly on the first day of each January, April, July and October if the Current
Index changes. The “Current Index” for any calendar quarter is the three month London Interbank Offered Rate (LIBOR) on the last
business day of the second month of the prior calendar quarter, as reported in The Wall Street Journal. The interest rate will not
increase above 25%. Any increase will take the form of higher payment amounts. For example, if your loan was for $15,000 at 5.45%
for 144 months and the rate increased to 6% after 12 months, your regular payments would increase by $3.80.

Late charge: If a payment is more than 15 days late, you will be charged $25.00.
Prepayment: If you pay off early, you will not have to pay a penalty but will have to pay your loan fee if not already paid.
See your other contract documents for any additional information about nonpayment, default, any required payment in full before the
scheduled date, and prepayment refunds and penalties.

(e) means estimate

  The loan fee for this loan will be 6.000% of the Capitalized Amount. The “Capitalized Amount” is an amount equal to the original
  principal balance of your loan plus the interest that has accrued thereon through the last day of the Interim Period or, if earlier, the day on
  which you otherwise prepay your loan in full.

  The Annual Percentage Rate before repayment begins is computed in accordance with federal regulations to take into account the loan
  fee and is not the same as the interest rate on your loans.

  If you make your first 48 consecutive loan payments on time, your interest rate will be reduced by 0.5%, beginning with your 49th
  payment; you will continue to receive this reduced rate only for so long as you make scheduled payments on time. If you authorize your
  bank to have loan payments automatically transferred from your checking or savings account, you will receive a 0.25% reduction on your
  interest rate, which will continue only for so long as your automatic payments do.

  The Current Index is 1.280%. The variable rate is equal to the Current Index plus a margin of 3.750% per annum.

                                              Itemization of the Amount Financed of:    $         13,400.00
                                                        Amount given to you directly:   $         0.00
                                                       Amount paid on your account:     $         0.00
                                                Amount paid to others on your behalf:   $         13,400.00




      09/04/2019                                                 Case 1:19-cv-00827-LY                                                 JBLLC 005
                                                     ASSIGNMENT


                                                       May 6,2004


                           The undersigned ("Lender"), for value received and pursuant to the terms and
           conditions of an Amended and Restated Commitment and Loan Sale Agreement dated as of
           March 8, 2004 ("Agreement") between Lender and Access Group, Inc. ("Access Group"), does
           hereby sell, assign, and convey to Access Group and its assignees, without recourse or warranty,
           except as set forth in the Agreement, all right, title and interest of Lender in, to and under (i) the
           loans (and the applications and loan agreements and related documents delivered pursuant to the
           Agreement) listed on the schedule attached hereto, which schedule lists                   individually
           identified loans with an outstanding aggregate Principal Balance as of the Cut-off Date of
                              and (ii) the Loan Documents and all other documents relating thereto, but only
           insofar as they relate to the aforesaid Assigned Loans, together with all rights and remedies of
           the undersigned under all of the foregoing, including the right to enforce the same in the same
           manner and to the same extent as the undersigned might do but for the execution and delivery of
           this instrument. This Assignment is being executed pursuant to the Agreement and is entitled to
           the benefits thereof. Capitalized terms used herein shall have the meanings assigned thereto in
           the Agreement.

                        Lender represents and warrants that it has duly executed and delivered the
           Endorsement (in the form required by Exhibit B of the Agreement).

                                                                   NATIONAL CITY BANK



                                                                                 Proregpjy Stringer
                                                                                 Senior Vice President




001.1620587.2


     09/04/2019                                       Case 1:19-cv-00827-LY                                    JBLLC 006
              [SEE EXHIBIT G TO THE INDENTURE OF TRUST
             (WHICH APPEARS AS TAB 2 OF THIS TRANSCRIPT)
                         FOR A LIST OF LOANS]




09/04/2019                   Case 1:19-cv-00827-LY         JBLLC 007
Borrower   Loan   Principal    Boirower   Loan   Principal     Botrower   Loan   Principal    Boirower   Loan   Principal    Boirower   Loan   Principal
 SSN       las    Amount        SSN       Jus    Amount         SSN       las    Amount        SSN       Type   Amount        SSN       Type   Amount




   6610    BALD   $13,400.00              LALD   $6,908.00                LALD   $14,500.00              CALB   $12,000.00




   09/04/2019                                                Case 1:19-cv-00827-LY                                                 JBLLC 008
 PREPARED FOR: BAL                                         BORROWER HISTORY AND ACTIVITY REPORT                                     REPORT DATE: 12/04/15
 PROCESSOR CODE: 3697        NELSON, LEAH                       FOR: AUDIT REQUEST TRANSACTION


 PREPARED BY : ACS
 CLIENT NO.   :                                                                                   PREV CLIENT CD :      KH
 OWNER NAME   : ACCESS GROUP, INC.                                                                ORIG PORT NBR :
 LENDER NUMBER:    960                                                                            ORIG LENDER NBR:


 SECTION I. BORROWER INFORMATION - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 ACCOUNT NO.              6610-3                           SEPARATION DATE   5/25/06              INSTALLMENTS PAST DUE             $721.72
 NAME              GILANI, AMER S                          GRACE END DATE    2/25/07              INTERIM INT PAST DUE                $0.00
 C/O NAME                                                  PDG END DATE                           TOTAL AMOUNT PAST DUE             $721.72
 ADDRESS           3710 NORMAN LOOP                      LAST SCHOOL CODE 003658                  CURRENT AMOUNT DUE                $134.64
                                                                                                  LATE CHARGES DUE                   $60.00
                                                           MONTHLY DUE DAY          7th
CITY, ST, ZIP                OCK          TX     78664     FIRST PAY DUE        4/07/07           TOTAL AMOUNT DUE                   $916.36
PRIM PHONE                    2982 C                       NEXT PAY DUE        12/07/15           UNPAID BORR INT                    $298.77
SECN PHONE                    4739 C                       INT ACCRUED THRU    12/03/15           UNPAID GOVT INT                       0.00
ADDRESS COND       GOOD                                    INT PAID THRU        6/07/15           INSTALLMENT AMOUNT                 $134.64
PHONE COND         GOOD PRIM PHONE                         DELINQUENT DATE      6/08/15           CURRENT STATUS:                IN DEFAULT
                   GOOD SECN PHONE                         # DAYS DELINQ            180           1098E UNPAID CAP INT                 $0.00
                                                                                                  1098E UNPAID ORIG FEES               $0.00

DISB DISB        NOTE        INT   LOAN     GUAR   DISB AMT      CAPITAL       <- REFUND/CANCEL ->         BORR PAID OUTSTANDING BORR PAID       LATE CHG
 #   DATE        DATE       RATE   TYPE                         INTEREST          AMOUNT      FEES          PRINCIPAL   BALANCE    INTEREST         PAID

01   9/17/03    8/14/03 .04079     01       EA    $6,700.00   $2,464.47        $0.00         $0.00       $1,633.02   $7,531.45   $2,954.75      $155.00
02   1/12/04    8/14/03 .04079     01       EA    $6,700.00   $2,464.43        $0.00         $0.00       $1,633.00   $7,531.43   $2,954.78      $155.00

                                       TOTAL     $13,400.00   $4,928.90        $0.00         $0.00       $3,266.02 $15,062.88    $5,909.53      $310.00

DISB DISB       1098E UNPAID 1098E UNPAID LOAN                                 STANDARD      STANDARD         25-YR FGV      # QUAL      IBR          # DAYS
 #   DATE       CAP INTEREST ORIG FEES    IDENTIFICATION                       STANDARD $    PERM $           BEGIN DT       FGV MOS     START DT     HRD DEF
01 9/17/03           $0.00        $0.00                                             $0.00         $0.00       7/01/09         00
02 1/12/04           $0.00        $0.00                                             $0.00         $0.00       7/01/09         00

                                                                     TOTAL           $0.00          $0.00


DISB APPL DT # 01       03/27/12          DISB APPL DT # 02     03/27/12




SECTION II. REFERENCE INFORMATION - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

               NAME                              ADDRESS                      CITY           ST     ZIP       PHONE NUMBER    ADDR COND    PHN COND     REF TYP

GILANI,                                                              AUSTIN                  TX    78703               8380       GOOD         GOOD
KHAN,                                                                SUGAR LAND              TX    77083               6477       GOOD         GOOD
CHOUH                                                                AUSTIN                  TX    78753               5122       GOOD         GOOD
CHOUH                                                                AUSTIN                  TX    78753               4312       GOOD         GOOD




               09/04/2019                                                        Case 1:19-cv-00827-LY                                                      JBLLC 009
SECTION III. FINANCIAL TRANSACTION SUMMARY        - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

ACCOUNT NUMBER             610-3

DESCRIPTION          ACT DATE EFF DATE     TOT PAID       INT PAID   PRIN PAID     LT CHG PD     ACCRD INT   LT CHG DUE    PRIN BAL   INC REBT

STARTING BAL                                                                                                              15,947.68


LATE CHG ADJUST      04/22/12   04/22/12                                                                         10.00
LATE CHG PAYMNT      04/30/12   04/27/12                                                10.00
PAYMENT              04/30/12   04/27/12      110.33        79.83       30.50                                             15,917.18
LATE CHG ADJUST      05/22/12   05/22/12                                                                         10.00
LATE CHG PAYMNT      05/30/12   05/29/12                                                10.00
PAYMENT              05/30/12   05/29/12      110.33        59.05       51.28                                             15,865.90
LATE CHG ADJUST      06/22/12   06/22/12                                                                         10.00
LATE CHG PAYMNT      07/06/12   10/02/12                                                10.00
PAY REAP-FI ADJ      07/10/12   07/08/12                    69.85      -69.85                                             15,935.75
ADJUST IRB           07/10/12   07/08/12                                                            69.85
ADJUST IRB           07/10/12   07/08/12                                                           -69.86
LATE CHG REAPP       07/10/12   07/08/12                     0.00      -10.00           10.00                             15,945.75
LATE CHG ADJUST      07/10/12   07/08/12                                                                        -10.00
PAY PRIOR            07/10/12   07/06/12      120.33         0.00      120.33                                             15,825.42
LATE CHG ADJUST      07/22/12   07/22/12                                                                         10.00
LATE CHG PAYMNT      07/25/12   10/02/12                                                10.00
LATE CHG PAYMNT      07/26/12   07/25/12                                                10.00
PAYMENT              07/26/12   07/25/12      111.04        34.71       76.33                                             15,749.09
LATE CHG ADJUST      08/22/12   08/22/12                                                                         10.00
PAY REAP-FI ADJ      08/24/12   08/22/12                    50.91      -50.91                                             15,800.00
ADJUST IRB           08/24/12   08/22/12                                                           -50.92
ADJUST IRB           08/24/12   08/22/12                                                            50.91
LATE CHG ADJUST      08/24/12   08/22/12                                                                        -10.00
PAY PRIOR            08/24/12   08/22/12      121.04         0.00      121.04                                             15,678.96
LATE CHG ADJUST      09/23/12   09/23/12                                                                         10.00
LATE CHG PAYMNT      09/28/12   10/02/12                                                10.00
PAY REAP-FI ADJ      10/02/12   09/30/12                    66.97      -66.97                                             15,745.93
ADJUST IRB           10/02/12   09/30/12                                                           -66.98
ADJUST IRB           10/02/12   09/30/12                                                            66.97
LATE CHG REAPP       10/02/12   09/30/12                     0.00      -10.00           10.00                             15,755.93
LATE CHG ADJUST      10/02/12   09/30/12                                                                        -10.00
PAY PRIOR            10/02/12   09/28/12      121.04         0.00      121.04                                             15,634.89
LATE CHG ADJUST      10/22/12   10/22/12                                                                         10.00
LATE CHG PAYMNT      10/29/12   10/26/12                                                10.00
PAYMENT              10/29/12   10/26/12      110.73        50.02       60.71                                             15,574.18
LATE CHG ADJUST      11/23/12   11/23/12                                                                         10.00
LATE CHG PAYMNT      11/27/12   11/26/12                                                10.00
PAYMENT              11/27/12   11/26/12      109.40        55.09       54.31                                             15,519.87
PAYMENT              12/18/12   12/17/12      120.73        37.20       83.53                                             15,436.34
PAYMENT              01/08/13   01/07/13      120.73        36.72       84.01                                             15,352.33
LATE CHG ADJUST      02/22/13   02/22/13                                                                         10.00
LATE CHG PAYMNT      02/28/13   03/02/13                                                10.00
PAY REAP-FI ADJ      03/02/13   02/28/13                    88.75      -88.75                                             15,441.08
ADJUST IRB           03/02/13   02/28/13                                                           -88.76

                                 **********   CONTINUED   **********




              09/04/2019                                                 Case 1:19-cv-00827-LY                                            JBLLC 010
ADJUST IRB        03/02/13   02/28/13                                                          88.75
LATE CHG REAPP    03/02/13   02/28/13                     0.00      -10.00          10.00                       15,451.08
LATE CHG ADJUST   03/02/13   02/28/13                                                                  -10.00
PAY PRIOR         03/02/13   02/28/13      119.57         0.00      119.57                                      15,331.51
LATE CHG ADJUST   03/22/13   03/22/13                                                                  10.00
LATE CHG PAYMNT   04/12/13   04/12/13                                               10.00
PAYMENT           04/12/13   04/12/13      239.14        73.19      165.95                                      15,165.56
LATE CHG ADJUST   05/22/13   05/22/13                                                                  10.00
LATE CHG PAYMNT   06/07/13   06/07/13                                               10.00
PAYMENT           06/07/13   06/07/13       50.07        50.07       0.00                                       15,165.56
PAYMENT           06/19/13   06/19/13       60.07        60.07       0.00                                       15,165.56
PAYMENT           07/19/13   07/19/13       60.07        54.04       6.03                                       15,159.53
PAYMENT           08/15/13   08/15/13       60.07        45.11      14.96                                       15,144.57
PAYMENT           09/13/13   09/13/13       60.07        48.40      11.67                                       15,132.90
LATE CHG ADJUST   10/22/13   10/22/13                                                                  10.00
LATE CHG PAYMNT   10/25/13   10/25/13                                               10.00
PAYMENT           10/25/13   10/25/13      110.14        69.89      40.25                                       15,092.65
LATE CHG ADJUST   12/22/13   12/22/13                                                                  10.00
LATE CHG PAYMNT   12/30/13   12/30/13                                               10.00
PAYMENT           12/30/13   12/30/13       80.11        80.11        0.00                                      15,092.65
LATE CHG ADJUST   01/22/14   01/22/14                                                                  10.00
LATE CHG PAYMNT   01/31/14   01/31/14                                               10.00
PAYMENT           01/31/14   01/31/14       50.07        50.07        0.00                                      15,092.65
LATE CHG ADJUST   02/22/14   02/22/14                                                                  10.00
LATE CHG PAYMNT   03/03/14   03/03/14                                               10.00
PAYMENT           03/03/14   03/03/14       80.11        80.11        0.00                                      15,092.65
LATE CHG ADJUST   03/22/14   03/22/14                                                                  10.00
LATE CHG PAYMNT   04/02/14   04/02/14                                               10.00
PAYMENT           04/02/14   04/02/14       80.11        52.39      27.72                                       15,064.93
LATE CHG ADJUST   04/22/14   04/22/14                                                                  10.00
LATE CHG ADJUST   05/22/14   05/22/14                                                                  10.00
LATE CHG PAYMNT   05/23/14   05/23/14                                               20.00
PAYMENT           05/23/14   05/23/14      160.22        83.84      76.38                                       14,988.55
LATE CHG ADJUST   06/22/14   06/22/14                                                                  10.00
LATE CHG PAYMNT   07/08/14   07/08/14                                               10.00
PAYMENT           07/08/14   07/08/14       80.11        75.22        4.89                                      14,983.66
LATE CHG ADJUST   07/22/14   07/22/14                                                                  10.00
LATE CHG ADJUST   08/22/14   08/22/14                                                                  10.00
LATE CHG ADJUST   09/22/14   09/22/14                                                                  10.00
LATE CHG PAYMNT   10/10/14   10/10/14                                               30.00
PAYMENT           10/10/14   10/10/14       19.74        19.74        0.00                                      14,983.66
LATE CHG ADJUST   10/22/14   10/22/14                                                                  10.00
LATE CHG PAYMNT   10/24/14   10/24/14                                               10.00
PAYMENT           10/24/14   10/24/14       40.00        40.00        0.00                                      14,983.66
PAYMENT           11/18/14   11/18/14      148.77       148.77        0.00                                      14,983.66
LATE CHG ADJUST   12/22/14   12/22/14                                                                  10.00
LATE CHG ADJUST   01/22/15   01/22/15                                                                  10.00
LATE CHG ADJUST   02/22/15   02/22/15                                                                  10.00
LATE CHG ADJUST   03/22/15   03/22/15                                                                  10.00
LATE CHG PAYMNT   03/29/15   03/29/15                                               40.00
PAYMENT           03/29/15   03/29/15      260.00       222.69      37.31                                       14,946.35
ADJ CAPITAL INT   06/07/15   06/07/15                                                        -116.53            15,062.88
LATE CHG ADJUST   06/22/15   06/22/15                                                                  10.00
LATE CHG ADJUST   07/22/15   07/22/15                                                                  10.00
LATE CHG ADJUST   08/22/15   08/22/15                                                                  10.00

                              **********   CONTINUED   **********




           09/04/2019                                                Case 1:19-cv-00827-LY                                  JBLLC 011
LATE CHG ADJUST   09/22/15 09/22/15                                                    10.00
LATE CHG ADJUST   10/22/15 10/22/15                                                    10.00
LATE CHG ADJUST   11/22/15 11/22/15                                                    10.00

*TOTALS                               2,914.14   1,882.81   1,001.33         300.00    290.00   15,062.88   0.00




           09/04/2019                                          Case 1:19-cv-00827-LY                        JBLLC 012
Loan History Details
Loan       Effective       Transaction Code        Transaction      App              App         App         Principal   Interest     Fee     Interest   Interest
 #            Date                                   Amount       Principal        Interest      Fees         Balance    Balance    Balance Rate Before   Rate
                                                                                                             After Tran After Tran After Tran   Tran    After Tran

       1    10/1/2003 A14 - Change Interest               0.00          0.00              0.00        0.00     6700.00      12.92       0.00       5.03       4.890
                      Rate
       1     1/1/2004 A14 - Change Interest               0.00          0.00              0.00        0.00     6700.00      95.44       0.00       4.89       4.921
                      Rate
       1    1/12/2004 A05 - Disbursement               6700.00       6700.00              0.00        0.00    13400.00     105.37       0.00       4.92       4.921
       1     4/1/2004 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00     249.80       0.00       4.92       4.870
                      Rate
       1     5/6/2004 A11 - Lender Transfer Curr      13712.33     13400.00            312.33         0.00    13400.00     312.33       0.00       4.87       4.870
       1     7/1/2004 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00     412.39       0.00       4.87       5.065
                      Rate
       1    10/1/2004 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00     583.34       0.00       5.07       5.550
                      Rate
       1     1/1/2005 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00     770.67       0.00       5.55       6.160
                      Rate
       1    1/15/2005 A52 - Adj Borr Accr Int            (0.51)         0.00            (0.51)        0.00    13400.00     799.17       0.00       0.00       5.550
       1    1/15/2005 A52 - Adj Borr Accr Int             3.13          0.00              3.13        0.00    13400.00     802.30       0.00       0.00       6.160
       1     4/1/2005 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00     974.06       0.00       6.16       6.670
                      Rate
       1     7/1/2005 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    1196.74       0.00       6.67       7.088
                      Rate
       1    10/1/2005 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    1435.97       0.00       7.09       7.620
                      Rate
       1     1/1/2006 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    1693.16       0.00       7.62       8.170
                      Rate
       1     4/1/2006 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    1962.93       0.00       8.17       8.573
                      Rate
       1    5/25/2006 A17 - Grad/Sep Change           15532.76     13400.00           2132.76         0.00    13400.00    2132.77       0.00       8.57       8.573
       1     7/1/2006 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    2249.14       0.00       8.57       8.988
                      Rate
       1    10/1/2006 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    2552.50       0.00       8.99       9.148
                      Rate
       1     1/1/2007 A14 - Change Interest               0.00          0.00              0.00        0.00    13400.00    2861.27       0.00       9.15       9.120
                      Rate
       1    2/25/2007 A76 - Suppl Guarantee Fee         986.72        986.72              0.00        0.00    14386.72    3045.29       0.00       9.12       9.120
       1    2/26/2007 A22 - Interim To Payout         17435.60     14386.72           3048.88         0.00    14386.72    3048.88       0.00       9.12       9.120
            09/04/2019                                                        Case 1:19-cv-00827-LY                                                    JBLLC 013
Loan History Details
Loan       Effective       Transaction Code     Transaction      App              App         App         Principal   Interest     Fee     Interest   Interest
 #            Date                                Amount       Principal        Interest      Fees         Balance    Balance    Balance Rate Before   Rate
                                                                                                          After Tran After Tran After Tran   Tran    After Tran

       1    2/26/2007 A40 - Full Cap                3048.88       3048.88        (3048.88)         0.00    17435.60       0.00       0.00       9.12       9.120
       1    3/30/2007 P30 - Borrower Payment         160.23         20.92           139.31         0.00    17414.68       0.00       0.00       9.12       9.120
       1     4/1/2007 A14 - Change Interest            0.00          0.00              0.00        0.00    17414.68       8.70       0.00       9.12       9.098
                      Rate
       1     4/2/2007 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    17414.68      13.04       0.00       0.00       9.098
       1     5/1/2007 P30 - Borrower Payment         159.00         20.17           138.83         0.00    17394.51       0.01       0.00       9.10       9.098
       1     5/2/2007 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    17394.51       4.34       0.00       0.00       9.098
       1     6/1/2007 P30 - Borrower Payment         159.00         24.68           134.32         0.00    17369.83       0.00       0.00       9.10       9.098
       1     6/4/2007 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    17369.83      12.98       0.00       0.00       9.098
       1     6/4/2007 P30 - Borrower Payment         159.00        146.02            12.98         0.00    17223.81       0.00       0.00       9.10       9.098
       1     6/5/2007 A52 - Adj Borr Accr Int         (0.03)         0.00            (0.03)        0.00    17223.81       4.29       0.00       0.00       9.098
       1     7/1/2007 A14 - Change Interest            0.00          0.00              0.00        0.00    17223.81     115.84       0.00       9.10       9.110
                      Rate
       1     8/1/2007 P30 - Borrower Payment         159.00          0.00           159.00         0.00    17223.81      90.01       0.00       9.11       9.110
       1    8/31/2007 P30 - Borrower Payment         159.00          0.00           159.00         0.00    17223.81      59.89       0.00       9.11       9.110
       1    10/1/2007 A14 - Change Interest            0.00          0.00              0.00        0.00    17223.81     193.07       0.00       9.11       9.371
                      Rate
       1    10/1/2007 P30 - Borrower Payment         159.00          0.00           159.00         0.00    17223.81      34.07       0.00       9.37       9.371
       1    11/1/2007 P30 - Borrower Payment         159.00          0.00           159.00         0.00    17223.81      12.05       0.00       9.37       9.371
       1    12/3/2007 P30 - Borrower Payment         159.00          5.54           153.46         0.00    17218.27       0.00       0.00       9.37       9.371
       1    12/4/2007 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    17218.27       4.42       0.00       0.00       9.371
       1     1/1/2008 A14 - Change Interest            0.00          0.00              0.00        0.00    17218.27     128.11       0.00       9.37       8.881
                      Rate
       1     1/2/2008 P30 - Borrower Payment         162.00         29.71           132.29         0.00    17188.56       0.01       0.00       8.88       8.881
       1     1/3/2008 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    17188.56       4.19       0.00       0.00       8.881
       1     2/8/2008 P30 - Borrower Payment         162.00          7.36           154.64         0.00    17181.20       0.01       0.00       8.88       8.881
       1    2/11/2008 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    17181.20      12.54       0.00       0.00       8.881
       1    2/28/2008 P30 - Borrower Payment         162.00         78.45            83.55         0.00    17102.75       0.01       0.00       8.88       8.881
       1    2/29/2008 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    17102.75       4.17       0.00       0.00       8.881
       1     4/1/2008 A14 - Change Interest            0.00          0.00              0.00        0.00    17102.75     137.24       0.00       8.88       6.808
                      Rate
       1     4/1/2008 P30 - Borrower Payment         162.41         25.18           137.23         0.00    17077.57       0.01       0.00       6.81       6.808
       1     5/5/2008 P30 - Borrower Payment         162.00         53.77           108.23         0.00    17023.80       0.00       0.00       6.81       6.808
            09/04/2019                                                     Case 1:19-cv-00827-LY                                                    JBLLC 014
Loan History Details
Loan       Effective       Transaction Code     Transaction      App              App         App         Principal   Interest     Fee     Interest   Interest
 #            Date                                Amount       Principal        Interest      Fees         Balance    Balance    Balance Rate Before   Rate
                                                                                                          After Tran After Tran After Tran   Tran    After Tran

       1    5/30/2008 P30 - Borrower Payment         162.42         83.09            79.33         0.00    16940.71       0.00       0.00       6.81       6.808
       1     7/1/2008 A14 - Change Interest            0.00          0.00              0.00        0.00    16940.71     101.05       0.00       6.81       6.431
                      Rate
       1     7/1/2008 P30 - Borrower Payment         134.00         32.96           101.04         0.00    16907.75       0.01       0.00       6.43       6.431
       1     8/7/2008 P30 - Borrower Payment         162.77         52.62           110.15         0.00    16855.13       0.00       0.00       6.43       6.431
       1     9/3/2008 P30 - Borrower Payment         162.77         82.64            80.13         0.00    16772.49       0.00       0.00       6.43       6.431
       1    9/26/2008 P30 - Borrower Payment         134.00         66.08            67.92         0.00    16706.41       0.00       0.00       6.43       6.431
       1    10/1/2008 A14 - Change Interest            0.00          0.00              0.00        0.00    16706.41      14.71       0.00       6.43       6.561
                      Rate
       1 10/31/2008 P30 - Borrower Payment           135.65         30.92           104.73         0.00    16675.49       0.01       0.00       6.56       6.561
       1    12/9/2008 P30 - Borrower Payment         204.75         87.92           116.83         0.00    16587.57       0.00       0.00       6.56       6.561
       1     1/1/2009 A14 - Change Interest            0.00          0.00              0.00        0.00    16587.57      68.53       0.00       6.56       5.967
                      Rate
       1     2/3/2009 P30 - Borrower Payment         165.00          7.05           157.95         0.00    16580.52       0.01       0.00       5.97       5.967
       1     3/5/2009 P30 - Borrower Payment         132.00         50.74            81.26         0.00    16529.78       0.01       0.00       5.97       5.967
       1     3/6/2009 P30 - Borrower Payment         214.50        211.79              2.71        0.00    16317.99       0.00       0.00       5.97       5.967
       1     4/1/2009 A14 - Change Interest            0.00          0.00              0.00        0.00    16317.99      69.31       0.00       5.97       5.014
                      Rate
       1     5/1/2009 P30 - Borrower Payment         132.00          0.00           132.00         0.00    16317.99       4.51       0.00       5.01       5.014
       1     6/1/2009 P30 - Borrower Payment         132.00         58.05            73.95         0.00    16259.94       0.01       0.00       5.01       5.014
       1     6/2/2009 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    16259.94       2.24       0.00       0.00       5.014
       1     6/6/2009 A00 - Loan Conv (Prev        16271.10     16259.94             11.16         0.00    16259.94      11.17       0.00       0.00       5.014
                      Sys)
       1     6/6/2009 A17 - Grad/Sep Change        16271.10     16259.94             11.16         0.00    16259.94      11.17       0.00       5.01       5.014
       1     6/6/2009 A22 - Interim To Payout      16271.10     16259.94             11.16         0.00    16259.94      11.17       0.00       5.01       5.014
       1     7/1/2009 A14 - Change Interest            0.00          0.00              0.00        0.00    16259.94      66.97       0.00       5.01       4.406
                      Rate
       1     7/2/2009 P30 - Borrower Payment         148.50         79.58            68.92         0.00    16180.36       0.01       0.00       4.41       4.406
       1     7/6/2009 A52 - Adj Borr Accr Int         (0.04)         0.00            (0.04)        0.00    16180.36       7.82       0.00       0.00       4.406
       1    8/17/2009 F01 - Start Forbearance      16270.15     16180.36             89.79         0.00    16180.36      89.79       0.00       4.41       4.406
       1    10/1/2009 A14 - Change Interest            0.00          0.00              0.00        0.00    16180.36     177.63       0.00       4.41       4.098
                      Rate


            09/04/2019                                                     Case 1:19-cv-00827-LY                                                    JBLLC 015
Loan History Details
Loan       Effective       Transaction Code     Transaction      App              App         App         Principal   Interest     Fee     Interest   Interest
 #            Date                                Amount       Principal        Interest      Fees         Balance    Balance    Balance Rate Before   Rate
                                                                                                          After Tran After Tran After Tran   Tran    After Tran

       1     1/1/2010 A14 - Change Interest            0.00          0.00              0.00        0.00    16180.36     344.64       0.00       4.10       4.007
                      Rate
       1    2/18/2010 A40 - Full Cap                 429.84        429.84         (429.84)         0.00    16610.20       0.00       0.00       4.01       4.007
       1    2/18/2010 F99 - End Forbearance        16610.20     16180.36            429.84         0.00    16180.36     429.84       0.00       4.01       4.007
       1     4/1/2010 A14 - Change Interest            0.00          0.00              0.00        0.00    16610.20      76.54       0.00       4.01       4.002
                      Rate
       1     4/5/2010 P30 - Borrower Payment         226.00        142.19            83.81         0.00    16468.01       0.01       0.00       4.00       4.002
       1     4/6/2010 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    16468.01       1.81       0.00       0.00       4.002
       1     6/1/2010 P30 - Borrower Payment         113.00         10.15           102.85         0.00    16457.86       0.01       0.00       4.00       4.002
       1     7/1/2010 A14 - Change Interest            0.00          0.00              0.00        0.00    16457.86      54.10       0.00       4.00       4.286
                      Rate
       1     7/8/2010 P30 - Borrower Payment         113.00         45.38            67.62         0.00    16412.48       0.00       0.00       4.29       4.286
       1     7/9/2010 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    16412.48       1.93       0.00       0.00       4.286
       1    8/13/2010 P30 - Borrower Payment         113.41         44.08            69.33         0.00    16368.40       0.01       0.00       4.29       4.286
       1    8/16/2010 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    16368.40       5.77       0.00       0.00       4.286
       1    9/17/2010 A55 - Late Charge               10.00          0.00              0.00    10.00       16368.40      67.23      10.00       4.29       4.286
       1    9/30/2010 P30 - Borrower Payment         231.59        129.39            92.20     10.00       16239.01       0.00       0.00       4.29       4.286
       1    10/1/2010 A14 - Change Interest            0.00          0.00              0.00        0.00    16239.01       1.91       0.00       4.29       4.046
                      Rate
       1    10/1/2010 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    16239.01       1.91       0.00       0.00       4.046
       1 11/12/2010 P30 - Borrower Payment           123.40         45.95            77.45         0.00    16193.06       0.01       0.00       4.05       4.046
       1 11/15/2010 A52 - Adj Borr Accr Int           (0.02)         0.00            (0.02)        0.00    16193.06       5.39       0.00       0.00       4.046
       1 12/10/2010 P30 - Borrower Payment           123.41         73.18            50.23         0.00    16119.88       0.00       0.00       4.05       4.046
       1 12/13/2010 A52 - Adj Borr Accr Int           (0.02)         0.00            (0.02)        0.00    16119.88       5.36       0.00       0.00       4.046
       1     1/1/2011 A14 - Change Interest            0.00          0.00              0.00        0.00    16119.88      39.29       0.00       4.05       4.050
                      Rate
       1    1/15/2011 P30 - Borrower Payment         101.19         36.88            64.31         0.00    16083.00       0.00       0.00       4.05       4.050
       1    1/17/2011 A55 - Late Charge               10.00          0.00              0.00    10.00       16083.00       3.57      10.00       4.05       4.050
       1    1/18/2011 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    16083.00       5.35      10.00       0.00       4.050
       1     2/4/2011 P30 - Borrower Payment         102.84         57.18            35.66     10.00       16025.82       0.01       0.00       4.05       4.050
       1     2/7/2011 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    16025.82       5.34       0.00       0.00       4.050
       1    2/11/2011 P30 - Borrower Payment         129.16        116.72            12.44         0.00    15909.10       0.01       0.00       4.05       4.050
       1    2/14/2011 A52 - Adj Borr Accr Int         (0.04)         0.00            (0.04)        0.00    15909.10       5.30       0.00       0.00       4.050
            09/04/2019                                                     Case 1:19-cv-00827-LY                                                    JBLLC 016
Loan History Details
Loan       Effective       Transaction Code     Transaction      App              App         App         Principal   Interest     Fee     Interest   Interest
 #            Date                                Amount       Principal        Interest      Fees         Balance    Balance    Balance Rate Before   Rate
                                                                                                          After Tran After Tran After Tran   Tran    After Tran

       1     4/1/2011 A14 - Change Interest            0.00          0.00              0.00        0.00    15909.10      86.45       0.00       4.05       4.060
                      Rate
       1    4/15/2011 P30 - Borrower Payment         116.00          4.80           111.20         0.00    15904.30       0.00       0.00       4.06       4.060
       1    4/17/2011 A55 - Late Charge               10.00          0.00              0.00    10.00       15904.30       3.54      10.00       4.06       4.060
       1    5/13/2011 P30 - Borrower Payment         116.41         56.91            49.50     10.00       15847.39       0.00       0.00       4.06       4.060
       1    5/16/2011 A52 - Adj Borr Accr Int         (0.02)         0.00            (0.02)        0.00    15847.39       5.29       0.00       0.00       4.060
       1    5/31/2011 F01 - Start Forbearance      15879.10     15847.39             31.71         0.00    15847.39      31.71       0.00       4.06       4.060
       1     7/1/2011 A14 - Change Interest            0.00          0.00              0.00        0.00    15847.39      86.32       0.00       4.06       4.003
                      Rate
       1    10/1/2011 A14 - Change Interest            0.00          0.00              0.00        0.00    15847.39     246.11       0.00       4.00       4.077
                      Rate
       1 11/27/2011 A40 - Full Cap                   346.93        346.93         (346.93)         0.00    16194.32       0.00       0.00       4.08       4.077
       1 11/27/2011 F99 - End Forbearance          16194.32     15847.39            346.93         0.00    15847.39     346.93       0.00       4.08       4.077
       1 12/17/2011 A55 - Late Charge                 10.00          0.00              0.00    10.00       16194.32      36.16      10.00       4.08       4.077
       1 12/23/2011 P30 - Borrower Payment           123.41         66.41            47.00     10.00       16127.91       0.00       0.00       4.08       4.077
       1 12/28/2011 A52 - Adj Borr Accr Int           (0.04)         0.00            (0.04)        0.00    16127.91       9.00       0.00       0.00       4.077
       1     1/1/2012 A14 - Change Interest            0.00          0.00              0.00        0.00    16127.91      16.20       0.00       4.08       4.279
                      Rate
       1    1/17/2012 A55 - Late Charge               10.00          0.00              0.00    10.00       16127.91      46.43      10.00       4.28       4.279
       1     2/3/2012 P30 - Borrower Payment         224.18        135.63            78.55     10.00       15992.28       0.01       0.00       4.28       4.279
       1     2/6/2012 A52 - Adj Borr Accr Int         (0.05)         0.00            (0.05)        0.00    15992.28       5.63       0.00       0.00       4.279
       1    3/15/2012 P30 - Borrower Payment         121.41         44.60            76.81         0.00    15947.68       0.01       0.00       4.28       4.279
       1    3/16/2012 A52 - Adj Borr Accr Int         (0.01)         0.00            (0.01)        0.00    15947.68       1.88       0.00       0.00       4.279
       1    3/24/2012 P32 - Bank Repur-Lndr        15964.50     15947.68             16.82         0.00        0.00       0.00       0.00       4.28       4.279
                      Refd

Post Default Payment Summary




            09/04/2019                                                     Case 1:19-cv-00827-LY                                                    JBLLC 017
Borrower Name         GILANI, AMER S

Loan Number           Paid Date on Latitude    Payment           Outstanding      Agency Name
                                               Amount            Balance
01                                 12/4/2015              0.00       15,421.65
01                                 3/31/2016         102.26          15,319.39 TSI
01                                 4/15/2016             40.91       15,278.48 TSI
01                                 5/15/2016             40.91       15,237.57 TSI
01                                 6/15/2016             33.34       15,204.23 TSI
01                                 7/15/2016             33.34       15,170.89 TSI
01                                 8/15/2016             33.34       15,137.55 TSI
01                                 9/15/2016             33.34       15,104.21 TSI




         09/04/2019                                                            Case 1:19-cv-00827-LY   JBLLC 018
                                      CAUSE NUMBER: ________________

 Access Group Inc                                   )
                                                    )
       Plaintiff                                    )
                                                    )     IN THE WILLIAMSON COUNTY
 vs.                                                )     DISTRICT COURT
                                                    )
 Amer S Gilani                                      )     WILLIAMSON COUNTY, TEXAS
 AKA Amer Gilani                                    )
                                                    )
       Defendant                                    )

                                 PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:
                                                 I. PARTIES

1.      Plaintiff is:
                        Access Group Inc

                        (hereinafter "Plaintiff"), whose business address is:
                        10 North High Street, West Chester, PA 19380. Plaintiff may be served with notice
                        through its attorneys of record, Javitch Block LLC, at 275 W. Campbell Road,
                        Suite 312, Richardson, Texas 75080. Plaintiff hereby consents to service by email
                        at dal@jbllc.com.

2.      Defendant is:
                   Amer S Gilani
                   AKA Amer Gilani

                        (hereinafter "Defendant"), who may be served at: 3710 Norman Loop, Round
                        Rock, TX 78664, or wherever they may be found.




 *Q---1728696SUT-1*                                                                          1728696 PLB
09/04/2019                                    Case 1:19-cv-00827-LY                              JBLLC 019
                               II. DISCOVERY-CONTROL PLAN

3.      Plaintiff intends that discovery will be conducted under Level 1 and affirmatively pleads that

this suit is governed by the expedited actions process in Texas Rule of Civil Procedure 169.

                            III. SPECIFIC STATEMENT OF RELIEF

4.      Plaintiff seeks only monetary relief of $100,000 or less, including damages of any kind,

penalties, costs, expenses, prejudgment interest, and attorney's fees.

                                 IV. JURISDICTION AND VENUE

5.      This lawsuit arises out of Defendant's failure to comply with the terms of contract, either oral

or written and all or a substantial part of the events or omissions giving rise to this action occurred in

and/or were performable in Williamson County, Texas. Furthermore, Defendant is a resident of

Williamson County, Texas, consequently venue is proper in this court pursuant to Chapter 15 of the

Texas Civil Practices and Remedies Code.

6.      The amount in controversy does not exceed $100,000, exclusive of interest and therefore is

within the jurisdictional limits of this Court.

                                   V. FACTUAL BACKGROUND

7.      On or about August 14, 2003, in the usual course of business, the parties entered into a written

contract, which is attached hereto and labeled as "Exhibit A".

8.      On March 12, 2019, Plaintiff charged off the remaining balance due by Defendant in the

amount of $15,062.88. On or about March 29, 2015, Defendant has ceased making payments and thus

defaulted on the obligations as stated in the contract.

                     VI. CAUSE OF ACTION/BREACH OF CONTRACT

9.      Plaintiff incorporates paragraphs 1 through 8 by reference as if fully set forth herein.

10.     Defendant entered into a valid and enforceable contract with Plaintiff upon execution of the

aformentioned contract. A true and correct copy of said contract is attached hereto as "Exhibit A",

and fully incorporated herein.


                                                                                              1728696 PLB
09/04/2019                                  Case 1:19-cv-00827-LY                                  JBLLC 020
11.     Defendant breached the contract when they defaulted on the obligation to make the requisite

payments to Plaintiff on the amount stated within the contract.

12.     Defendant's breach caused injury to Plaintiff because Plaintiff charged off the entire balance

due as an economic loss.

13.     Plaintiff now seeks liquidated damages within the jurisdictional limits of this Court in the

amount of $15,104.21.

                                VII. CONDITIONS PRECEDENT

14.     All conditions precedent to Plaintiff's claim for relief have been performed or have occurred.



                                                PRAYER

        For these reasons, Plaintiff asks that the Court issue citation for Defendant to appear and

answer, and that judgment be granted in favor of Plaintiff for the following:

        a. Actual damages in the amount of $15,104.21 which consists of a combined principal

        amount of $15,062.88 and accrued Pre-Judgment interest of $41.33 all now due and owing;

        b. Post-Judgment interest at the statutory rate, in lieu of any additional contract interest; and

        c. costs of court.



                                                      Respectfully Submitted,


                                                  x Jacob M. Figelman, #24095682
                                                    Eric S. Peterson, #24107156
                                                    Kaitlin Palmarozzi, #24098217
                                                    Saundra (Sam) Meyer, #24100319
                                                    Joshua L. Booker, #24082706
                                                    Javitch Block LLC
                                                    275 W. Campbell, Suite 312
                                                    Richardson, TX 75080
                                                    (214) 383-9088
                                                    DAL@jbllc.com
                                                    Fax: (214) 383-5890



                                                                                              1728696 PLB
09/04/2019                                  Case 1:19-cv-00827-LY                                JBLLC 021
                                                 EXHIBIT A

09/04/2019   Case 1:19-cv-00827-LY   JBLLC 022
                                    Important Notices and Borrower Certification
Criminal Penalties 18 U.S.C. §1014                                             If you sign the Application and Loan Agreement in Ohio:
Whoever knowingly makes any false statement or report, or willfully            The Ohio laws against discrimination require that all creditors make
overvalues any land, property or security, for the purpose of influencing in   credit equally available to all creditworthy customers, and that credit
any way the action of … any institution the accounts of which are insured      reporting agencies maintain separate credit histories on each
by the Federal Deposit Insurance Corporation …, upon any application,          individual upon request. The Ohio civil rights commission administers
advance, discount, purchase, purchase agreement, repurchase                    compliance with this law.
agreement, commitment, or loan, or any change or extension of any of           If you sign the Application and Loan Agreement in Pennsylvania:
the same, by renewal, deferment of action or otherwise, or the                 You intend to be legally bound by this Application and Loan Agreement
acceptance, release, or substitution of security therefor, shall be fined      and the Statement of Loan Terms and Conditions.
not more than $1 million or imprisoned not more than 30 years, or both.
                                                                               If you sign the Application and Loan Agreement in Utah:
Borrower Authorization                                                         As required by Utah law, you are hereby notified that a negative credit
I authorize the Lender and Access Group, Inc. to investigate my                report reflecting on your credit record may be submitted to a credit
creditworthiness and to obtain information from others concerning my           reporting agency if you fail to fulfill the terms of your credit obligations.
credit standing and other relevant information affecting this application.
I authorize the Lender or other subsequent holder of my loan and               If you sign the Application and Loan Agreement in Vermont:
Access Group, Inc. to provide to others information about my loan and          You authorize National City to obtain credit reports about you now and
the Lenderʼs (or subsequent holderʼs or Access Group, Inc.ʼs)                  in the future for all legitimate purposes associated with this application
experiences with me. I acknowledge and agree that the school                   or the account including, but not limited to: (a) evaluating the
referenced on the Application and Loan Agreement may receive a copy            application; and (b) renewing, reviewing, modifying, and taking
of this Application and Loan Agreement. Except as otherwise prohibited         collection action on your account.
by law, I agree and consent that the Lender may share with its                 Your consent is required before we can share certain credit information
respective affiliates all information about me for the purposes, among         about you with our affiliates. We are permitted to share information which
other things, of evaluating credit applications or offering products and       is not a credit report under Vermont law without your consent, such as
services that it believes may be of interest to me. Under the Fair Credit      information related solely to our transactions and experiences with you.
Reporting Act there is certain credit information about me that cannot be
shared by the Lender with its affiliates if I send a written instruction       If you sign the Application and Loan Agreement in Wisconsin:
containing my name, address, account number, and Social Security               For married Wisconsin residents, your signature confirms that this
number addressed as follows: National City Bank, P. O. Box 94985,              loan obligation is being incurred in the interest of your marriage or
Cleveland, Ohio 44101-4985.                                                    family. No provision of a marital property agreement, a unilateral
If you sign the Application and Loan Agreement in California:                  statement under Section 766.59 of the Wisconsin Statutes or a court
A married applicant may apply for a separate account. As required by           decree under Section 766.70 of the Wisconsin Statutes adversely
law, you are hereby notified that a negative credit report reflecting on       affects the interests of the creditor unless the creditor, prior to the time
your credit record may be submitted to a credit reporting agency if you        the credit is granted, is furnished a copy of the agreement, statement
fail to fulfill the terms of your credit obligations.                          or decree or has actual knowledge of the adverse provision when the
                                                                               obligation to the creditor is incurred.
If we take any adverse action as defined by Section 1785.3 of the
California Civil Code and the adverse action is based, in whole or in part,    Borrower Certification
on any information contained in a consumer credit report, you have the         I declare under penalty of perjury under the laws of the United States of
right to obtain within 60 days a free copy of your consumer credit report      America that the following is true and correct. I, the borrower, certify that
from the consumer reporting agency who furnished us your consumer              the information contained in my Application and Loan Agreement for a
credit report and from any other consumer credit reporting agency which        loan under the Access Group® loan programs is true, complete, and
compiles and maintains files on consumers on a nationwide basis. You           correct to the best of my knowledge and belief and is made in good faith.
have the right as described by Section 1785.16 of the California Civil         At my lenderʼs option, I authorize the lender to make my loan check
Code to dispute the accuracy or completeness of any information in a           payable to the student on whose behalf the loan is to be extended (which
consumer credit report furnished by the consumer credit reporting agency.      in the case of a non-student borrower is the person identified in fields 18
If you sign the Application and Loan Agreement in Iowa (This is                and 19 of my Application and Loan Agreement, and in the case of a
a consumer credit transaction), Nebraska, or Kansas:                           student borrower is me) and mail it to such studentʼs school, to mail a
                                                                               master check to such studentʼs school, or to electronically transfer loan
Notice to Consumer:                                                            funds to such studentʼs account at such studentʼs school, and, in the case
1. Do not sign this paper (agreement) before you read it. 2. You are           of an Electronic Funds Transfer or master check, if I am a borrower who
entitled to a copy of this paper (agreement). 3. You may prepay the            is not the student, I further authorize the lender and the school to distribute
unpaid balance at any time without penalty and may be entitled to              to the student any loan funds in excess of the amount owed or payable
receive a refund of unearned charges in accordance with law.                   by such student to the school during the applicable academic period. IF
                                                                               I AM A BORROWER WHO IS NOT ALSO THE STUDENT, I
If you sign the Application and Loan Agreement in Iowa                         UNDERSTAND AND AGREE THAT NO AMOUNTS WILL BE PAYABLE
and the principal amount of this Loan exceeds $20,000:                         TO ME EITHER BY CHECK OR ELECTRONIC TRANSFER. I authorize
IMPORTANT: READ BEFORE SIGNING. THE TERMS OF                                   any educational institution that such student may attend, the guarantor, or
THIS AGREEMENT SHOULD BE READ CAREFULLY                                        Access Group, Inc. to release to the lending institution, subsequent
BECAUSE ONLY THOSE TERMS IN WRITING ARE                                        holder, or their agents, any requested information pertinent to my loan
ENFORCEABLE.         NO OTHER TERMS OR ORAL                                    (e.g., employment, enrollment status, prior loan history, current address).
                                                                               I authorize my lender, subsequent holder, Access Group, Inc., or their
PROMISES NOT CONTAINED IN THIS WRITTEN                                         agents to advise such studentʼs educational institution of the status of my
CONTRACT MAY BE LEGALLY ENFORCED. YOU MAY                                      Application and Loan Agreement or of my loan. I also authorize the lender,
CHANGE THE TERMS OF THIS AGREEMENT ONLY BY                                     subsequent holder, educational institution, the guarantor, Access Group,
ANOTHER WRITTEN AGREEMENT.                                                     Inc., or their agents to make inquiries to or respond to inquiries from
If you sign the Application and Loan Agreement in Rhode Island:                subsequent lenders or holders with respect to my Application and Loan
                                                                               Agreement and related documents. I also authorize the lender, subsequent
A consumer report may be requested in connection with this application.        holder, guarantor, or their agents to release information and make inquiries
If you sign the Application and Loan Agreement in Maryland:                    to the persons I have listed in my Application and Loan Agreement as
We elect Subtitle 10, Credit Grantor Closed End Credit Provisions, of          references, for the purpose of learning my current address and telephone
Title 12 of the Commercial Law Article of the Annotated Code of                number. I also authorize the lender, subsequent holder, the guarantor,
Maryland only to the extent not inconsistent with 12 U.S.C. §85 and            Access Group, Inc., or their agents to check my credit and employment
related regulations and opinions, which we expressly reserve.                  history and to answer questions about their credit experience with me.
                                                                               I certify that the proceeds of my loan will be used for educational purposes
If you sign the Application and Loan Agreement in New York:                    for the academic period stated in my Application and Loan Agreement at
A consumer report may be requested in connection with this                     the educational institution named on my Application and Loan Agreement.
application. Upon your request, you will be informed whether or not            I understand that I am responsible for repaying immediately any funds
a consumer report was requested, and if such report was requested,             that I or the student receive which are not to be used or are not used for
informed of the name and address of the consumer reporting                     educational expenses related to attendance at the institution stated for the
agency that furnished the report. Subsequent consumer reports                  loan period stated. I certify that I have not filed for bankruptcy in the past
may be requested or utilized in connection with an update, renewal             seven years. I certify that I am not now in default on any loan received
or extension of the credit for which application was made.                     under the Federal Direct Loan Program or the Federal Family Education
                                                                               Loan Program, or other education loan.
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Student Borrowers – Statement of Loan Terms and Conditions for
Access Group® Private Loan Programs
This Statement of Loan Terms and Conditions applies to, and is a part of, my              you a certification from the director of such program as to my participation),
Application and Loan Agreement. My signature on the Application and Loan                  (c) if my Access Group Program is the Bar Examination Loan program, the date
Agreement certifies that I have read, understand, and agree to these Loan Terms           which is nine months after the date my law school indicated on my Application
and Conditions. In this Statement of Loan Terms and Conditions the words “I,”             and Loan Agreement to be my anticipated or actual graduation date, (d) if my
“me,” “my,” and “mine” mean the borrower identified on the Application and Loan           Access Group Program is the Dental Access® or Dental Residency/Dental Board
Agreement. If a cosigner is identified on the Application and Loan Agreement, the         Examination Loan program, the date which is nine months after the date I
words “I,” “me,” “my,” and “mine” mean the borrower and the cosigner, jointly             graduate or otherwise cease to be enrolled at least half-time at the dental school
and severally, except that references to my school, graduation or enrollment,             named on my Application and Loan Agreement or at any other dental school
program of study, citizenship, or participation in residency or postdoctoral              participating in the Dental Access® program, unless on such date I am
programs, and references to loan funds being lent, advanced, mailed, or                   participating in a required residency or postdoctoral program, in which event the
otherwise disbursed to me, for me, or on my behalf, refer only to the student             “Interim Period” will end on the date which is nine months after the date I
borrower. “You,” “your,” and “yours” mean National City Bank, 1900 East Ninth             complete or otherwise cease to participate in such residency or postdoctoral
Street, Cleveland, Ohio 44114-3484, or its successors and assigns, and any                program, but in no event later than 45 months after the date I graduate from
subsequent holder of my loan.                                                             dental school (I will be considered to be participating in a required residency or
                                                                                          postdoctoral program only if I have sent you a certification from the director of
A. PROMISE TO PAY
                                                                                          such program as to my participation), or (e) if my Access Group Program is the
Intending to be legally bound, I promise to pay to your order under the provisions
                                                                                          Comprehensive Access® program or the Optimum® Loan program, the earlier of (i)
set forth in this Statement of Loan Terms and Conditions all of the principal sum
                                                                                          the date which is nine months after I graduate, or otherwise cease to be enrolled,
advanced to me or paid on my behalf, and as set out below, interest on such
                                                                                          at the school named on my Application and Loan Agreement or any other school
principal sum, interest on any unpaid accrued interest added to the principal
                                                                                          participating in the Access Group® loan programs or (ii) the date which is ten
balance, a loan fee, if any, as set out below (which shall be added to the principal
                                                                                          years after the disbursement date for my first Comprehensive Access® Loan or
balance as described below), late charges, and, in the event of default, and to the
                                                                                          Optimum® Loan.
extent permitted by applicable law, costs of collection and reasonable attorneys’ fees.
                                                                                          4. “Repayment Period” means the period beginning on the day after the Interim
B. IMPORTANT - READ THIS INFORMATION CAREFULLY                                            Period ends and continuing for no more than 240 months. I recognize that the
1. When you receive my signed Application and Loan Agreement, you are not                 beginning date of the Repayment Period may be earlier than the date on which I
agreeing to lend me money. If you decide to make a loan to me, you will, in your          am asked to make my first payment according to the periodic statements
sole discretion, mail a loan check to me, or mail a loan check or master check or         described in Paragraph E.2.
electronically transfer the loan funds to my school for me. You have the right to not
make a loan or to lend an amount less than the “Loan Amount Requested” in my              D. INTEREST
Application and Loan Agreement. The amount of the loan will not exceed the Loan           1. Accrual - Interest on my loan will accrue at the Variable Rate. Interest begins
Amount Requested. I agree to accept an amount less than the Loan Amount                   to accrue on the Disbursement Date and will continue to accrue on the unpaid
Requested and to repay that portion of the Loan Amount Requested that you                 balance until paid in full. Interest will accrue on the unpaid principal sum to the
actually lend to me.                                                                      extent it is advanced to me or paid on my behalf, and on unpaid accrued interest
                                                                                          and the loan fee added to the principal balance in accordance with Paragraphs
2. After you agree to make a loan to me, you will send me (and my cosigner, if
                                                                                          D.3 and G. Interest will be calculated on the basis of the actual number of
applicable) a Disclosure Statement. In addition to other information, the
                                                                                          days in the year and the actual number of days elapsed. If I do not pay interest to
Disclosure Statement will tell me the amounts of my disbursements, the loan fee
                                                                                          you during the Interim Period, you may at your option add such interest to the
percentage assessed, and the index and margin used in calculating the interest
                                                                                          principal balance of the loan in accordance with Paragraph D.3.
rate for my loan.
                                                                                          2. Variable Rate - The Variable Rate is equal to the Current Index, plus a margin
3. I will review my Disclosure Statement upon receiving it and will contact you
                                                                                          ranging from 1.45% per annum to 4.30% per annum, depending on my credit
within three business days if I have any questions. If I am not satisfied (or if my
                                                                                          history, my Access Group Program, and the availability of special loan programs at
cosigner, if applicable, is not satisfied) with the terms of my loan as approved, I (or
                                                                                          the school I attend, as identified in my Application and Loan Agreement, and my
my cosigner, if applicable) may cancel my loan and any disbursements. To cancel,
                                                                                          payment performance with respect to my loan. The margin applicable to my loan, as
I (or my cosigner, if applicable) must contact you in writing within three business
                                                                                          well as the basis upon which and the amount by which the margin applicable to my
days of receiving the Disclosure Statement and must notify my school. If I or my
                                                                                          loan may be increased or decreased as a result of my payment performance, will be
cosigner cancel the loan, I agree to not endorse any loan check, and to return to my
                                                                                          identified in my Disclosure Statement. In no event shall the Variable Rate be more
school any and all funds received by me, and I agree that such non-endorsement
                                                                                          than 25% per annum. The Variable Rate will change quarterly on the first day of each
and return of funds will be a condition to the effective cancellation of the loan.
                                                                                          January, April, July, and October (the “Change Date(s)”) if the Current Index
C. DEFINITIONS                                                                            changes. The “Current Index” for any calendar quarter beginning on a Change Date
1. “Access Group Program” means the particular loan program (i.e., Law Access®, Bar       (or for any shorter period beginning on the Disbursement Date and ending on the first
Examination Loan, Business Access®, Graduate Access®, Health Access®, Medical             Change Date) is the three-month London Interbank Offered Rate (LIBOR) on the last
Access®, Medical Residency Loan, Dental Access®, Dental Residency/Dental                  business day of the second month of the prior calendar quarter, as reported in The
Board Examination Loan, Comprehensive Access® or Optimum® Loan) for which                 Wall Street Journal. If the Current Index is no longer available, you will choose,
you have determined that I am eligible, based upon my program of study,                   in your sole discretion, a comparable substitute.
enrollment status, and citizenship, as shown on my Application and Loan Agreement.        3. Capitalization - You may, at your option, add all accrued and unpaid interest on
2. “Disbursement Date” means the date on which you lend money to me in                    my loan to the principal balance of the loan on the last day of the Interim Period.
consideration for my Application and Loan Agreement, which date will be the date          If my loan is the Comprehensive Access® Loan or Optimum® Loan, you may, at your
shown on my loan check, the date the loan funds are electronically transferred to my      option, add all accrued and unpaid interest on my loan to the principal balance of
school or the date on which any master check is mailed to my school.                      the loan five years after the date of the first disbursement of my Comprehensive
3. “Interim Period” means the period beginning on the initial Disbursement Date           Access® Loan or Optimum® Loan (if my loan has not yet entered repayment at that
and ending on (a) if my Access Group Program is the Law Access®, Graduate                 time), and again when my loan enters repayment.
Access®, Health Access®, or Business Access® program, the date which is nine              E. TERMS OF REPAYMENT
months after I graduate or otherwise cease to be enrolled at least half-time at the       1. Interim Period - During the Interim Period you will send me quarterly statements
school named on my Application and Loan Agreement or any other school                     showing my loan disbursements and the interest that accrues on my loan.
participating in my Access Group Program, (b) if my Access Group Program is the           Statements will be sent to the address shown on your records, as provided in
Medical Access® or Medical Residency Loan program, the date which is nine                 Paragraph L. The quarterly statements will cover periods beginning on the initial
months after the date I graduate or otherwise cease to be enrolled at least               Disbursement Date and thereafter on the first day of each January, April, July, and
half-time at the medical school named on my Application and Loan Agreement or             October. I may, but am not required to, make payments of interest or principal
any other medical school participating in the Medical Access® program, unless on          during the Interim Period. You may add any interest that I do not pay during the
such date I am participating in a required residency program, in which event the          Interim Period to the principal balance, as described in Paragraph D.3.
“Interim Period” will end on the date which is nine months after the date
                                                                                          2. Repayment Period - During the Repayment Period you will send me periodic
I complete or otherwise cease to participate in such residency program, but in no
                                                                                          statements on my loan. The periodic statements will cover periods beginning on
event later than 57 months after the date I graduate from medical school (I will be
                                                                                          the first day of the Repayment Period and on the same day of each following
considered to be participating in a required residency program only if I have sent
                                                                                          month. I will make consecutive monthly payments in the amounts and on the
                                                                                                                                                      Continued on page 5.
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payment due dates shown on my periodic statements until I have paid all of the             employees and court and other collection costs, which you, or any agent of yours,
principal and interest and any other charges I may owe on my loan, as described            incur in enforcing the terms of my Application and Loan Agreement (including this
in this Statement of Loan Terms and Conditions.                                            Statement of Loan Terms and Conditions).
3. Repayment Terms - The amounts shown on my periodic statements will be                   L. NOTICES
consecutive monthly installments of principal and interest calculated each                 1. I will send written notice to you within ten days after any change in my name,
Change Date to equal the amount necessary to amortize the unpaid principal                 address, e-mail address, telephone number, school enrollment status, or residency
balance (including capitalized interest and loan fee, if any) of my loan (as of the        or postdoctoral program participation.
date of calculation) in equal monthly installments of principal and interest at the
                                                                                           2. Any notice required to be given to me by you will be effective (and deemed
Variable Rate then in effect over the number of months remaining in the
                                                                                           received) when mailed by first class mail to the latest address you have for me.
Repayment Period.
4. Amounts Owing at the End of the Repayment Period - Since interest accrues               M. ADDITIONAL AGREEMENTS
daily upon the unpaid principal balance of my loan, if I make payments after my            1. The proceeds of my loan will be used (a) if my Access Group Program is the Law
payment due dates, I may owe additional interest. If I have not paid my late               Access®, Business Access®, Graduate Access®, Health Access®, Medical Access®,
charges, I will also owe additional amounts for those late charges. In such case           Dental Access®, Comprehensive Access® Loan program or Optimum® Loan
you will increase the amount of my last monthly payment to the amount necessary            program, only for my educational expenses at the school identified in my
to repay my loan in full.                                                                  Application and Loan Agreement, (b) if my Access Group Program is the Bar
5. Minimum Repayment - Notwithstanding Paragraph E.3, I agree to pay at least              Examination Loan program, only for my educational expenses in conjunction with
$50 each month (principal and interest) during the Repayment Period or the                 the Bar Examination, (c) if my Access Group Program is the Medical Residency
unpaid balance, whichever is less. I understand that this may result in my loan            Loan program, only for my educational expenses in conjunction with a required
being paid off in less than 240 months.                                                    residency program, or (d) if my Access Group Program is the Dental
6. My obligation to repay my loan shall remain in force if I become totally and            Residency/Dental Board Examination Loan program, only for my educational
permanently disabled or die.                                                               expenses associated with the costs of a required dental residency, dental board
                                                                                           examination, or postdoctoral program.
F. LATE CHARGES                                                                            2. My responsibility for paying my loan is unaffected by the liability of any other
I will pay a late charge of $25.00 if I fail to make any part of an installment payment    person to me or by your failure to notify me that a required payment has not been
within 15 days after it becomes due. I will pay only one late charge for an                made. Without losing any of your rights under my Application and Loan
installment payment, regardless of the number of days it is late.                          Agreement (including this Statement of Loan Terms and Conditions), you may
G. FINANCE CHARGE                                                                          accept (a) late payments, or (b) partial payments. I will not send you any partial
I will pay a loan fee not to exceed 6% of an amount (the “Capitalized Amount”)             payments marked “paid in full,” “without recourse” or with similar language
equal to the original principal balance of my loan plus the interest that has              unless those payments are marked for “special handling” and sent to: Access
accrued thereon through the last day of the Interim Period or, if earlier, the day on      Group, P.O. Box 7400, Wilmington, DE 19803-0400. You may delay, or fail to
which I otherwise prepay my loan in full. The loan fee percentage to be applied            exercise, or waive any of your rights on any occasion without losing your
to my Capitalized Amount will be identified on my Disclosure Statement and will            entitlement to exercise the right at any future time or on any future occasion.
be 0%, 3%, or 6%. The loan fee will be payable on the last day of the Interim Period       You will not be obligated to make any demand upon me, send me any notice,
or, if earlier, the day on which I otherwise prepay my loan in full.                       present my Application and Loan Agreement to me for payment or make protest
I agree that you can add the amount of the loan fee to the outstanding balance of          of nonpayment to me before suing to collect on my loan if I am in default, and, to
my loan. I will not be entitled to any refund of the loan fee.                             the extent permitted by applicable law, I hereby waive any right I might otherwise
                                                                                           have to require such actions.
H. RIGHT TO PREPAY                                                                         3. You are located in Ohio. My Application and Loan Agreement will be entered
I have the right to prepay all or any part of my loan at any time without penalty.         into in Ohio. Your decision on whether to lend me money will be made in Ohio.
If I prepay my loan, either before or after the end of the Interim Period, I will still
pay the loan fee described in Paragraph G. above. If I otherwise prepay my loan
                                                                                           CONSEQUENTLY, THE PROVISIONS OF MY LOAN WILL BE
in its entirety prior to the last day of the Interim Period, and I have not already paid
                                                                                           GOVERNED BY FEDERAL LAWS AND THE LAWS OF THE STATE
the loan fee, I agree to pay the loan fee when you bill me for it.
                                                                                           OF OHIO, WITHOUT REGARD TO CONFLICT OF LAW RULES.
                                                                                           I agree that any suit I bring against you (or against any subsequent holder of my
I. FORBEARANCE                                                                             loan) must be brought in a court of competent jurisdiction in the county in which
If I am unable to repay my loan in accordance with the terms established under             you maintain your (or the county in which such subsequent holder maintains its)
Paragraph E. of this Statement of Loan Terms and Conditions, I may request that            principal place of business.
you modify these terms. I understand that such modification would be at your               4. I may not assign my loan or any of its benefits or obligations. You may assign my
option. I understand that interest will continue to accrue during any period of            loan at any time without my consent.
forbearance and that I will remain responsible for payment of such interest.               5. The terms and conditions set forth in my Application and Loan Agreement
J. WHOLE LOAN DUE                                                                          (including the Borrower Certification), this Statement of Loan Terms and
To the extent permitted by applicable law, I will be in default and you have the right     Conditions, and the Disclosure Statement constitute the entire agreement
to give me notice that the whole outstanding principal balance, accrued interest,          between you and me.
and all other amounts payable to you as described in this Statement of Loan Terms          6. If any provision of my Application and Loan Agreement (including this
and Conditions, are due and payable at once (subject to any applicable law which           Statement of Loan Terms and Conditions) is held invalid or unenforceable, that
may give me a right to cure my default) if:                                                provision shall be considered omitted from my Application and Loan Agreement
1. I fail to make any monthly payment to you when due; or                                  without affecting the validity or enforceability of the remainder of my Application
2. I break any of my other promises in my Application and Loan Agreement                   and Loan Agreement.
(including this Statement of Loan Terms and Conditions); or                                7. The Section headings of this Statement of Loan Terms and Conditions are a table
3. I die; or                                                                               of contents and not contract terms. In this Statement of Loan Terms and
                                                                                           Conditions, acts or practices by you which are or may be permitted by “applicable
4. Any bankruptcy proceeding is begun by or against me, or I assign any of my
                                                                                           law” are permitted by New Jersey law. In this Statement of Loan Terms and
assets for the benefit of my creditors; or
                                                                                           Conditions, acts or practices that may or will be taken by you unless prohibited by
5. I make any false written statement in applying for my loan or at any time during        “applicable law” are permitted by New Jersey law.
the Interim or Repayment Periods. Your right to treat such false statements as a
                                                                                           8. A provision of my Application and Loan Agreement (including this Statement of
default is in addition to, and not in lieu of, any other remedies you have at law or
                                                                                           Loan Terms and Conditions) may be modified only if jointly agreed upon in writing
in equity.
                                                                                           by you and me. Any modification will not affect the validity or enforceability of the
If I default, I will be required to pay interest on my loan accruing after default. The    remainder of my Application and Loan Agreement.
interest rate after default will be subject to adjustment in the same manner as
                                                                                           9. I acknowledge my loan is an education loan and that the Access Group® loan
before default.
                                                                                           programs are funded in part by a nonprofit institution, and that my loan is
K. COLLECTION COSTS                                                                        therefore subject to the limitations on dischargeability in bankruptcy contained in
I agree to pay you reasonable amounts permitted by applicable law, including               Section 523 (a) (8) of the United States Bankruptcy Code.
reasonable attorneys’ fees for any attorneys who are not your regular salaried

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